

Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist. (2019 NY Slip Op 06345)





Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist.


2019 NY Slip Op 06345


Decided on August 22, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 22, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CARNI, LINDLEY, AND CURRAN, JJ.


725 CA 18-01589

[*1]SUZANNE P., ADMINISTRATRIX OF THE ESTATE OF MITCHELL P., DECEASED, PLAINTIFF-APPELLANT,
vJOINT BOARD OF DIRECTORS OF ERIE-WYOMING COUNTY SOIL CONSERVATION DISTRICT, ALSO KNOWN AS ERIE-WYOMING JOINT WATERSHED BOARD, ET AL., DEFENDANTS, AND WYOMING COUNTY SOIL &amp; WATER CONSERVATION DISTRICT, DEFENDANT-RESPONDENT. (APPEAL NO. 3.) 






PAUL WILLIAM BELTZ, P.C., BUFFALO (WILLIAM A. QUINLAN OF COUNSEL), FOR PLAINTIFF-APPELLANT.
BARTH SULLIVAN BEHR, LLP, BUFFALO (DOMINIC M. CHIMERA OF COUNSEL), FOR DEFENDANT-RESPONDENT.


	Appeal from an order of the Supreme Court, Erie County (Mark J. Grisanti, A.J.), entered April 16, 2018. The order granted the motion of defendant Wyoming County Soil &amp; Water Conservation District for summary judgment. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Suzanne P. v Joint Bd. of Directors of Erie-Wyoming County Soil Conservation Dist. ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Entered: August 22, 2019
Mark W. Bennett
Clerk of the Court








